  Fill in this information to identify your case and this filing:
  Debtor 1               Christine                   K.                   Danders
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

  Case number            19-10108
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
105 Pepperwood Drive                                       Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Whitethorn                       CA       95589                Manufactured or mobile home                               $160,500.00                  $160,500.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
                                                               Other                                         entireties, or a life estate), if known.
County
                                                           Who has an interest in the property?
                                                                                                             Fee Simple
                                                           Check one.
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

Debtor's residence; Realtor's opinion of value as of 3/6/19 by Dean Kessler of the Kessler Team; All the following repairs
and maintenance taken into consideration in value: Leaking roof ($12,000), repairs to interior from leaky roof ($5,000),
fungus damage and rotted exterior wood and trim ($25,000), missing floor covering ($10,000), replace failed dual pane
windows ($8,000), replace damaged sub-floor in both bathrooms ($2,400), finish kitchen counters and cabinets ($4,000),
repair fungus damaged decking ($25,000), restore/trim back landscaping and back yard ($18,000)
2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $160,500.00




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Debtor 1         Christine K. Danders                                                                Case number (if known)         19-10108


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Toyota                      Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     4Runner
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2015                                                                     entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 70,000                                 At least one of the debtors and another                   $0.00                               $0.00
Other information:
2015 Toyota 4Runner (approx. 70,000                         Check if this is community property
miles); Debtor was a co-signer on the                       (see instructions)
vehile for her daughter. Value of
vehicle is $21,000. Total owed on loan
is $7,721.75. Debtor has not made any
payments and has no interest in this
vehicle.
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................                  $0.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               All household goods and furnishings                                                                                    $2,500.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Tv's, cell phone, stereo                                                                                                 $400.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............



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Debtor 1          Christine K. Danders                                                                                               Case number (if known)                  19-10108

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing                                                                                                                                                                     $200.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry                                                                                                                                                                      $400.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $3,500.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $40.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Checking account - Community Credit Union of Southern
                                                                Humboldt ending 9170- 00                                                                                                                     $890.00
             17.2.        Checking account:                     Checking account - Community Credit Union of Southern
                                                                Humboldt ending 9170- 51                                                                                                                 $1,126.00
             17.3.        Checking account:                     Checking account - Community Credit Union of Southern
                                                                Humboldt ending 9170- 71                                                                                                                 $1,095.00
             17.4.        Checking account:                     Checking account - Wells Fargo account ending 7177                                                                                               $0.00




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Debtor 1         Christine K. Danders                                                              Case number (if known)     19-10108

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




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Debtor 1        Christine K. Danders                                                         Case number (if known)    19-10108

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.....................................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                           Beneficiary:                     Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information Administartor of the Estate of Lonny Bremer - Debtor will receive                               $23,226.00
                                                      statutory fees in the probate case. Total value of estate:
                                                      $1,022,625. 4% of the first $100,000=$4,000 + 3% of the next
                                                      $100,000= $3,000 + 2% of the next $800,000=$16,000 + 1% of the
                                                      next $9,000,000 (actual amount is $22,625) = $226.25. Total =
                                                      $23,226.25.
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............

35. Any financial assets you did not already list

           No
           Yes. Give specific information




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Debtor 1         Christine K. Danders                                                                                Case number (if known)             19-10108

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................      $26,377.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................           $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




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Debtor 1          Christine K. Danders                                                                               Case number (if known)             19-10108

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




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Debtor 1           Christine K. Danders                                                                                       Case number (if known)                19-10108


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................     $160,500.00

56. Part 2: Total vehicles, line 5                                                                                           $0.00

57. Part 3: Total personal and household items, line 15                                                               $3,500.00

58. Part 4: Total financial assets, line 36                                                                         $26,377.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $29,877.00              property total                 +             $29,877.00


63. Total of all property on Schedule A/B.                                                                                                                                                  $190,377.00
                                                                    Add line 55 + line 62.......................................................................................................




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 Fill in this information to identify your case:
 Debtor 1            Christine            K.                     Danders
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA
                                                                                                                     Check if this is an
 Case number         19-10108                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Christine K. Danders                                                   Case number (if known)   19-10108

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $160,500.00                  $0.00           C.C.P. § 703.140(b)(1)
105 Pepperwood Drive                                                         100% of fair market
Debtor's residence; Realtor's opinion of                                     value, up to any
value as of 3/6/19 by Dean Kessler of the                                    applicable statutory
Kessler Team; All the following repairs and                                  limit
maintenance taken into consideration in
value: Leaking roof ($12,000), repairs to
interior from leaky roof ($5,000), fungus
damage and rotted exterior wood and trim
($25,000), missing floor covering
($10,000), replace failed dual pane
windows ($8,000), replace damaged sub-
floor in both bathrooms ($2,400), finish
kitchen counters and cabinets ($4,000),
repair fungus damaged decking ($25,000),
restore/trim back landscaping and back
yard ($18,000)
Line from Schedule A/B:  1.1

Brief description:                                      $2,500.00                $2,500.00          C.C.P. § 703.140(b)(3)
All household goods and furnishings                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           C.C.P. § 703.140(b)(3)
Tv's, cell phone, stereo                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           C.C.P. § 703.140(b)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           C.C.P. § 703.140(b)(4)
Jewelry                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $40.00                    $40.00           C.C.P. § 703.140(b)(5)
Cash on hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $890.00                  $890.00           C.C.P. § 703.140(b)(5)
Checking account - Community Credit                                          100% of fair market
Union of Southern Humboldt ending 9170-                                      value, up to any
00                                                                           applicable statutory
Line from Schedule A/B: 17.1                                                 limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Christine K. Danders                                                   Case number (if known)   19-10108

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,126.00                $1,126.00          C.C.P. § 703.140(b)(5)
Checking account - Community Credit                                          100% of fair market
Union of Southern Humboldt ending 9170-                                      value, up to any
51                                                                           applicable statutory
Line from Schedule A/B: 17.2                                                 limit

Brief description:                                      $1,095.00                $1,095.00          C.C.P. § 703.140(b)(5)
Checking account - Community Credit                                          100% of fair market
Union of Southern Humboldt ending 9170-                                      value, up to any
71                                                                           applicable statutory
Line from Schedule A/B: 17.3                                                 limit

Brief description:                                     $23,226.00               $23,226.00          C.C.P. § 703.140(b)(5)
Administartor of the Estate of Lonny                                         100% of fair market
Bremer - Debtor will receive statutory fees                                  value, up to any
in the probate case. Total value of estate:                                  applicable statutory
$1,022,625. 4% of the first $100,000=                                        limit
$4,000 + 3% of the next $100,000= $3,000
+ 2% of the next $800,000=$16,000 + 1% of
the next $9,000,000 (actual amount is
$22,625) = $226.25. Total = $23,226.25.
Line from Schedule A/B:  32




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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                                                                   44
  Fill in this information to identify your case:
  Debtor 1             Christine               K.                     Danders
                       First Name              Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

  Case number          19-10108
                                                                                                                          Check if this is an
  (if known)
                                                                                                                          amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one                Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As             Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the            Do not deduct the      that supports this     portion
        creditor's name.                                                                    value of collateral    claim                  If any

  2.1                                               Describe the property that
                                                    secures the claim:                           $217,263.65             $160,500.00            $56,763.65
Mr. Cooper
Creditor's name
                                                    105 Pepperwood Drive
8950 Cypress Waters Blvd.
Number       Street


                                                    As of the date you file, the claim is: Check all that apply.
                                                        Contingent
Coppell                  TX      75019                  Unliquidated
City                     State   ZIP Code
                                                        Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred                              Last 4 digits of account number        4     5    5    0
Lat 4 of SSN: 8989




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                $217,263.65

         Case:
Official Form 106D19-10108                  Doc#  14 D: Creditors
                                              Schedule  Filed: 03/21/19         Entered:
                                                                  Who Have Claims Secured by03/21/19
                                                                                            Property 17:27:09                             Page 12  of1
                                                                                                                                                page
                                                                          44
Debtor 1      Christine K. Danders                                                        Case number (if known)      19-10108

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $25,721.06              $25,721.06
Mr. Cooper                                    105 Pepperwood Drive
Creditor's name
8950 Cypress Waters Blvd.
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Coppell                 TX      75019             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Arrearage claim
   to a community debt
Date debt was incurred          Various       Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $25,721.06

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $242,984.71

         Case:
Official Form 106D19-10108     Doc#
                         Additional Page14     Filed:D: 03/21/19
                                         of Schedule                   Entered:
                                                        Creditors Who Have         03/21/19
                                                                           Claims Secured       17:27:09
                                                                                          by Property                              Page 13  of2
                                                                                                                                         page
                                                                             44
Debtor 1       Christine K. Danders                                                    Case number (if known)    19-10108

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Toyota Financial Services                                              On which line in Part 1 did you enter the creditor?
        Name
        P.O. Box 8026                                                          Last 4 digits of account number
        Number       Street




        Cedar Rapids                             IA      52408-8026
        City                                     State   ZIP Code
        Debtor co-signed on her daughter's vehicle.




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3
       Case: 19-10108               Doc# 14           Filed: 03/21/19 Entered: 03/21/19 17:27:09                               Page 14 of
                                                                    44
  Fill in this information to identify your case:
  Debtor 1             Christine             K.                     Danders
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

  Case number          19-10108
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




         Case:
Official Form     19-10108
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                                                                            Unsecured Claims                                            Page 15  of1
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                                                                       44
Debtor 1       Christine K. Danders                                                             Case number (if known)      19-10108

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $113.00
Awa Collections                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 6605
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Orange                          CA      92863
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collections for Two Jinn Inc.
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $2,431.00
Capital One Services                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 30285
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT      84130-0285
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




         Case:
Official Form     19-10108
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Debtor 1       Christine K. Danders                                                    Case number (if known)       19-10108

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                                 $93.00
Comenity Bank                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 182789
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Columbus                      OH      43218
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $227.00
Comenity Bank                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 182789
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Columbus                      OH      43218
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                $140.00
Comenity Bank                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 182789
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Columbus                      OH      43218
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes




         Case:
Official Form     19-10108
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Debtor 1       Christine K. Danders                                                    Case number (if known)       19-10108

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.6                                                                                                                                $660.93
Community Credit Union of S.Hum                      Last 4 digits of account number       7    0    0    1
Nonpriority Creditor's Name
                                                     When was the debt incurred?
757 Redwood Drive
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Garberville                   CA      95542
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $237.00
Grant Mercantile Agency                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. box 1903
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Oakhurst                      CA      93644
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collections
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                  $0.00
J&L Teamworks                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
651 N. Cherokee Lane #B2
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Lodi                          CA      95240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collections for St. Joseph Hospital
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Christine K. Danders                                                    Case number (if known)       19-10108

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.9                                                                                                                                $489.00
Kohl's                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 3043
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Milwaukee                     WI      53201-3043
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $583.00
Nordstrom                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 13589
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Scottsdale                    AZ      85267
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                  $0.00
Quality Loan Service                                 Last 4 digits of account number       2    0    A    B
Nonpriority Creditor's Name
                                                     When was the debt incurred?
411 Ivy Street
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
San Diego                     CA      92101
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Foreclosure Agent for Mr. Cooper
Is the claim subject to offset?
     No
     Yes




         Case:
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Debtor 1       Christine K. Danders                                                    Case number (if known)       19-10108

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.12                                                                                                                              $4,800.00
Sanctuary Forest                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 166
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Whitethorn                    CA      95589
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                              $1,677.00
Sonoma Co Credit/Palmer Syst.                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 1040
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Santa Clara                   CA      95052
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collections
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                $959.00
St. Joseph Hospital                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
2700 Dolbeer Street
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Eureka                        CA      95501
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Bills
Is the claim subject to offset?
     No
     Yes




         Case:
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Debtor 1       Christine K. Danders                                                    Case number (if known)       19-10108

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.15                                                                                                                            $14,305.00
St. Joseph Hospital                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
2700 Dolbeer Street
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Eureka                        CA      95501
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Bills
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                $411.00
St. Joseph Hospital                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
2700 Dolbeer Street
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Eureka                        CA      95501
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Bills
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                  $1.00
Target National Bank                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
P.O. Box 1581
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Minneapolis                   MN      55440-1581
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes




         Case:
Official Form     19-10108
              106E/F                  Doc#Schedule
                                           14 Filed:       03/21/19
                                                   E/F: Creditors Who HaveEntered:   03/21/19 17:27:09
                                                                          Unsecured Claims                                     Page 21  of7
                                                                                                                                     page
                                                                     44
Debtor 1       Christine K. Danders                                                    Case number (if known)       19-10108

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.18                                                                                                                                $204.00
Tavco                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 9340
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Santa Rosa                    CA      95405
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                $183.00
Verizon Wireless                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 660108
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Dallas                        TX      75266-0108
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Account Balance
Is the claim subject to offset?
     No
     Yes




         Case:
Official Form     19-10108
              106E/F                  Doc#Schedule
                                           14 Filed:       03/21/19
                                                   E/F: Creditors Who HaveEntered:   03/21/19 17:27:09
                                                                          Unsecured Claims                                     Page 22  of8
                                                                                                                                     page
                                                                     44
Debtor 1       Christine K. Danders                                                     Case number (if known)        19-10108

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $27,513.93


                   6j.   Total.   Add lines 6f through 6i.                                            6j.             $27,513.93




         Case:
Official Form     19-10108
              106E/F                   Doc#Schedule
                                            14 Filed:       03/21/19
                                                    E/F: Creditors Who HaveEntered:   03/21/19 17:27:09
                                                                           Unsecured Claims                                           Page 23  of9
                                                                                                                                            page
                                                                      44
 Fill in this information to identify your case:
 Debtor 1            Christine            K.                     Danders
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

 Case number         19-10108
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
        Case: 19-10108                Doc# 14           Filed: 03/21/19 Entered: 03/21/19 17:27:09                                  Page 24 of
                                                                      44
 Fill in this information to identify your case:
 Debtor 1            Christine            K.                      Danders
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

 Case number         19-10108
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      Delila SeeBauer
         Name                                                                                       Schedule D, line         1
         P.O. Box 2001                                                                              Schedule E/F, line
         Number      Street
                                                                                                    Schedule G, line

         Whitethorn                                CA             95589                       Toyota Financial Services
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                         page 1
        Case: 19-10108                Doc# 14           Filed: 03/21/19 Entered: 03/21/19 17:27:09                                       Page 25 of
                                                                      44
 Fill in this information to identify your case:
     Debtor 1              Christine            K.                    Danders
                           First Name           Middle Name           Last Name                           Check if this is:
     Debtor 2                                                                                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name           Last Name
                                                                                                               A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DIST. OF CALIFORNIA
                                                                                                               chapter 13 income as of the following date:
     Case number           19-10108
     (if known)
                                                                                                               MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                            Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                           Employed
      with information about                                         Not employed                                       Not employed
      additional employers.
                                        Occupation            Admin. Asst. Receptionist
      Include part-time, seasonal,
      or self-employed work.            Employer's name       Cardinal Services

      Occupation may include            Employer's address    2930 E Street
      student or homemaker, if it                             Number Street                                      Number Street
      applies.




                                                              Eureka                       CA       95501
                                                              City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?       1 month

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                           For Debtor 1            For Debtor 2 or
                                                                                                                   non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                 $1,692.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                     3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                4.               $1,692.00




Official Form 106I                                         Schedule I: Your Income                                                            page 1
          Case: 19-10108                Doc# 14        Filed: 03/21/19 Entered: 03/21/19 17:27:09                                       Page 26  of
                                                                         44
Debtor 1        Christine K. Danders                                                                                             Case number (if known)    19-10108
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $1,692.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $165.00
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.                $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $165.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $1,527.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.           $2,250.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.               $0.00
     8e. Social Security                                                                                    8e.           $1,213.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $3,463.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $4,990.00 +                      =                                                $4,990.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $4,990.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           See continuation sheet.
           Yes. Explain:




Official Form 106I                                                           Schedule I: Your Income                                                                       page 2
         Case: 19-10108                          Doc# 14                 Filed: 03/21/19 Entered: 03/21/19 17:27:09                                                  Page 27  of
                                                                                           44
Debtor 1     Christine K. Danders                                              Case number (if known)   19-10108


13. Expected increase or decrease within the year after you file this form:
     Debtor occasionally does housekeeping. It varies and is inconsistent. Amount disclosed in schedule I reflects a 6
     month average. Debtor rents out her real property for $2,000/month, which is enough to cover the mortgage. Debtor
     resides at another residence and pays rent there in order to be closer to work.




Official Form 106I                                     Schedule I: Your Income                                     page 3
        Case: 19-10108             Doc# 14         Filed: 03/21/19 Entered: 03/21/19 17:27:09                Page 28  of
                                                                     44
Debtor 1     Christine K. Danders                                     Case number (if known)   19-10108

8a. Attached Statement (Debtor 1)

                                                  Self-employment

Gross Monthly Income:                                                                                     $250.00

Expense                                            Category                          Amount

Total Monthly Expenses                                                                                      $0.00
Net Monthly Income:                                                                                       $250.00




Official Form 106I                                Schedule I: Your Income                                 page 4
        Case: 19-10108              Doc# 14   Filed: 03/21/19 Entered: 03/21/19 17:27:09            Page 29  of
                                                                44
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Christine              K.                     Danders                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DIST. OF CALIFORNIA                                   MM / DD / YYYY
     Case number           19-10108
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            15
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,000.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $150.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                              Schedule J: Your Expenses                                                   page 1
          Case: 19-10108                Doc# 14              Filed: 03/21/19 Entered: 03/21/19 17:27:09                                Page 30  of
                                                                               44
Debtor 1      Christine K. Danders                                                          Case number (if known)     19-10108
                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                     $100.00
     6b. Water, sewer, garbage collection                                                                  6b.

     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                     $160.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                      $600.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                      $100.00
10. Personal care products and services                                                                    10.                      $50.00
11. Medical and dental expenses                                                                            11.                     $100.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                     $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                      $18.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.

     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                                    20a.                   $1,892.00
     20b.   Real estate taxes                                                                              20b.

     20c.   Property, homeowner's, or renter's insurance                                                   20c.

     20d.   Maintenance, repair, and upkeep expenses                                                       20d.

     20e.   Homeowner's association or condominium dues                                                    20e.



 Official Form 106J                                        Schedule J: Your Expenses                                               page 2
        Case: 19-10108                Doc# 14          Filed: 03/21/19 Entered: 03/21/19 17:27:09                            Page 31  of
                                                                         44
Debtor 1      Christine K. Danders                                                             Case number (if known)   19-10108
21. Other. Specify: See continuation sheet                                                                   21.    +               $100.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $4,470.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $4,470.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $4,990.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $4,470.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                   $520.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                       Schedule J: Your Expenses                                                page 3
       Case: 19-10108                 Doc# 14         Filed: 03/21/19 Entered: 03/21/19 17:27:09                             Page 32  of
                                                                        44
Debtor 1     Christine K. Danders                                               Case number (if known)   19-10108


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
    Phone                                                                                                            $80.00
    Cable                                                                                                            $80.00

                                                                                      Total:                        $160.00


21. Other. Specify:
    Storage                                                                                                          $50.00
    Birthday/Christmas                                                                                               $50.00

                                                                                      Total:                        $100.00




 Official Form 106J                                      Schedule J: Your Expenses                                  page 4
       Case: 19-10108               Doc# 14          Filed: 03/21/19 Entered: 03/21/19 17:27:09               Page 33  of
                                                                       44
 Fill in this information to identify your case:
 Debtor 1                Christine                     K.                             Danders
                         First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

 Case number             19-10108
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $160,500.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $29,877.00
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                            $190,377.00
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $242,984.71
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $27,513.93
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $270,498.64




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $4,990.00
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                   $4,470.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
         Case: 19-10108                          Doc# 14                 Filed: 03/21/19 Entered: 03/21/19 17:27:09                                                             Page 34 of
                                                                                       44
Debtor 1       Christine K. Danders                                                         Case number (if known)     19-10108


 Part 4:         Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
            Yes

7.   What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                      $4,291.96


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                  $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                          $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                $0.00

     9d. Student loans. (Copy line 6f.)                                                                                 $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                        $0.00
         priority claims. (Copy line 6g.)

     9f.    Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.     Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
           Case: 19-10108              Doc# 14           Filed: 03/21/19 Entered: 03/21/19 17:27:09                                Page 35 of
                                                                       44
 Fill in this information to identify your case:
 Debtor 1           Christine            K.                  Danders
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name


 United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

 Case number        19-10108
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Christine K. Danders                              X
        Christine K. Danders, Debtor 1                          Signature of Debtor 2

        Date 03/20/2019                                         Date
             MM / DD / YYYY                                            MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
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                                                                     44
 Fill in this information to identify your case:
 Debtor 1           Christine               K.                   Danders
                    First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DIST. OF CALIFORNIA

 Case number        19-10108
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                  Sources of income          Gross income            Sources of income           Gross income
                                                  Check all that apply.      (before deductions      Check all that apply.       (before deductions
                                                                             and exclusions                                      and exclusions

From January 1 of the current year until              Wages, commissions,                $842.67          Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                       bonuses, tips
                                                      Operating a business                                Operating a business


For the last calendar year:                           Wages, commissions,              $6,848.02          Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                                Operating a business


For the calendar year before that:                    Wages, commissions,                                 Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                                Operating a business




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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                                                                        44
Debtor 1       Christine K. Danders                                                      Case number (if known)     19-10108

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,               $500.00       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,             $1,200.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,                             Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income           Gross income
                                                  Describe below.             from each source     Describe below.             from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until          Social Security Benefits            $2,426.00
the date you filed for bankruptcy:                Rental Income                       $4,000.00



For the last calendar year:                       Social Security Benefits           $14,160.00
(January 1 to December 31, 2018 )                 Gift Income                         $2,300.00
                                YYYY              Rental Income                      $30,000.00
                                                  Sale of Assets                      $4,300.00


For the calendar year before that:                Social Security Benefits           $14,160.00
(January 1 to December 31, 2017 )                 Rental Income                      $26,067.96
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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                                                                      44
Debtor 1         Christine K. Danders                                                          Case number (if known)      19-10108


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Community Credit Union of S.Hum                                                   $1,026.00           $1,311.51              Mortgage
Creditor's name                                                                                                              Car
                                                               12/18, 01/19, 02/19
757 Redwood Drive                                                                                                            Credit card
Number      Street
                                                                                                                             Loan repayment
                                                                                                                             Suppliers or vendors
Garberville                          CA       95542                                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Christine K. Danders                                                        Case number (if known)      19-10108
8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                                Status of the case
Estate of Lonny David Bremer               Probate - Debtor is administrator          Humboldt County superior court
                                                                                                                                               Pending
                                                                                      Court Name
                                                                                      825 5th Street                                           On appeal
                                                                                      Number     Street
Case number PR180006                                                                                                                           Concluded

                                                                                      Eureka                     CA       95501
                                                                                      City                       State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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Debtor 1       Christine K. Danders                                                        Case number (if known)     19-10108

  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Law Offices of Hjerpe & Godinho                        Retainer for attonrye's fee and filing fee               or transfer was     payment
Person Who Was Paid                                                                                             made

350 E Street, 1st Floor                                                                                            02/20/2019           $4,000.00
Number      Street




Eureka                        CA       95501
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 5
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Debtor 1       Christine K. Danders                                                         Case number (if known)     19-10108
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                         Description and value of any        Describe any property or payments          Date transfer
Mid City Motor World                                     property transferred                received or debts paid in exchange         was made
Person Who Received Transfer                             2014 Toyota Tacoma; value of        Sold to Mid ity for $20,000                        12/17
4800 US-101                                              $20,000
Number      Street




Eureka                        CA       95503
City                          State    ZIP Code

Person's relationship to you None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                  Who else has or had access to it?          Describe the contents                      Do you still
                                                                                                                                        have it?

HIde-Away Mini Storage                                                                       This was grandmother's storage                 No
Name of Storage Facility                          Name                                       who has now passed away.                       Yes
1375 Giuntoli Lane                                                                           Piano and misc. household
Number      Street                                Number     Street                          goods and furnishings



Arcata                     CA      95521
City                       State   ZIP Code       City                   State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1        Christine K. Danders                                                       Case number (if known)    19-10108

  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

            No
            Yes. Fill in the details.

                                                 Where is the property?                      Describe the property              Value

Delila Seebauer                                                                              2015 Toyota 4Runner; Debtor         $21,000.00
Owner's Name                                                                                 sometimes drives her
P.O. Box 2001                                    105 Pepperwood Drive                        daughter's vehicle.
Number       Street                              Number    Street




Redway                     CA      95560         Whitethorn             CA      95589
City                       State   ZIP Code      City                   State   ZIP Code


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 7
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                                                                        44
Debtor 1          Christine K. Danders                                                            Case number (if known)         19-10108

  Part 11:          Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

              No. None of the above applies. Go to Part 12.
              Yes. Check all that apply above and fill in the details below for each business.

                                                    Describe the nature of the business                 Employer Identification number
N/A                                                 House Cleaning/Odd Jobs                             Do not include Social Security number or ITIN.
Business Name
                                                                                                        EIN:           –
P.O. Box 163                                        Name of accountant or bookkeeper
Number        Street
                                                    N/A                                                 Dates business existed

                                                                                                        From        2010           To   Present
Shelter Cove                 CA      95589
City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Christine K. Danders                                      X
       Christine K. Danders, Debtor 1                               Signature of Debtor 2

       Date      03/20/2019                                         Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 8
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